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      SO. CAL. EQUAL ACCESS GROUP
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      KORTTNEY ELLIOTT
 6
 7
                            UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
 9
10    KORTTNEY ELLIOTT,                        Case No.:
11            Plaintiff,                       COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR
12          vs.                                VIOLATION OF:
13                                             1. AMERICANS WITH DISABILITIES
                                               ACT, 42 U.S.C. §12131 et seq.;
14    K T ENTERPRISE, LLC; and DOES 1
      through 10,                              2. CALIFORNIA’S UNRUH CIVIL
15                                             RIGHTS ACT, CAL CIV. CODE §§ 51 -
                  Defendants.                  52 et seq.;
16
                                               3. CALIFORNIA’S DISABLED
17                                             PERSONS ACT, CAL CIV. CODE §54 et
                                               seq.
18
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE § 19955, et seq.
20                                             5. NEGLIGENCE
21
22
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24
            Plaintiff KORTTNEY ELLIOTT (“Plaintiff”) complains of Defendants K T
25
      ENTERPRISE, LLC; and DOES 1 through 10 (“Defendants”) and alleges as follows:
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      //
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                                       COMPLAINT - 1
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 1                                             PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3    from hemiplegia, is substantially limited in her ability to walk and requires the use of a
 4    wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a restaurant
 7    (“Business”) located at or about 2120 Grand Ave., Chino Hills, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 to 10, and each of them, are unknown to Plaintiff, who
10    therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of Court
11    to amend this Complaint when the true names and capacities have been ascertained.
12    Plaintiff is informed and believes and, based thereon, alleges that each such fictitiously
13    named Defendants are responsible in some manner, and therefore, liable to Plaintiff for
14    the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.)
28




                                             COMPLAINT - 2
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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 7    reside in this district, Ventura County, California.
 8                                  FACTUAL ALLEGATIONS
 9          10.    In or about February of 2022, Plaintiff went to the Business.
10          11.    The Business is a restaurant business establishment, open to the public, and
11    is a place of public accommodation and affects commerce through its operation.
12    Defendants provide parking spaces for customers.
13          12.    While attempting to enter the Business during each visit, Plaintiff personally
14    encountered a number of barriers that interfered with her ability to use and enjoy the
15    goods, services, privileges, and accommodations offered at the Business.
16          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17    included, but were not limited to, the following:
18                 a.     Defendant failed to maintain the parking space designated for persons
19                        with disabilities to comply with the federal and state standards.
20                        Defendants failed to provide the access aisles with level surface
21                        slopes.
22                 b.     Defendants failed to maintain the parking space designated for
23                        persons with disabilities to comply with the federal and state
24                        standards. Defendants failed to post required signage stating
25                        “Minimum Fine $250.”
26          14.    These barriers and conditions denied Plaintiff the full and equal access
27    to the Business and caused her difficulty and frustration. Plaintiff wishes to return and
28    patronize the Business, however, Plaintiff is deterred from visiting the Business because



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 1    her knowledge of these violations prevents her from returning until the barriers are
 2    removed.
 3          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 4    there are additional barriers to accessibility at the Business after further site inspection.
 5    Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 6    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8    knew that particular barriers render the Business inaccessible, violate state and federal
 9    law, and interfere with access for the physically disabled.
10          17.    At all relevant times, Defendants had and still have control and dominion
11    over the conditions at this location and had and still have the financial resources to
12    remove these barriers without much difficulty or expenses to make the Business
13    accessible to the physically disabled in compliance with ADDAG and Title 24
14    regulations. Defendants have not removed such barriers and have not modified the
15    Business to conform to accessibility regulations.
16                                    FIRST CAUSE OF ACTION
17        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18          18.    Plaintiff incorporates by reference each of the allegations in all prior
19    paragraphs in this complaint.
20          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21    shall be discriminated against on the basis of disability in the full and equal enjoyment of
22    the goods, services, facilities, privileges, advantages, or accommodations of any place of
23    public accommodation by any person who owns, leases, or leases to, or operates a place
24    of public accommodation. See 42 U.S.C. § 12182(a).
25          20.    Discrimination, inter alia, includes:
26                 a.     A failure to make reasonable modification in policies, practices, or
27                        procedures, when such modifications are necessary to afford such
28                        goods, services, facilities, privileges, advantages, or accommodations



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 1                     to individuals with disabilities, unless the entity can demonstrate that
 2                     making such modifications would fundamentally alter the nature of
 3                     such goods, services, facilities, privileges, advantages, or
 4                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5                b.   A failure to take such steps as may be necessary to ensure that no
 6                     individual with a disability is excluded, denied services, segregated or
 7                     otherwise treated differently than other individuals because of the
 8                     absence of auxiliary aids and services, unless the entity can
 9                     demonstrate that taking such steps would fundamentally alter the
10                     nature of the good, service, facility, privilege, advantage, or
11                     accommodation being offered or would result in an undue burden. 42
12                     U.S.C. § 12182(b)(2)(A)(iii).
13                c.   A failure to remove architectural barriers, and communication barriers
14                     that are structural in nature, in existing facilities, and transportation
15                     barriers in existing vehicles and rail passenger cars used by an
16                     establishment for transporting individuals (not including barriers that
17                     can only be removed through the retrofitting of vehicles or rail
18                     passenger cars by the installation of a hydraulic or other lift), where
19                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20                d.   A failure to make alterations in such a manner that, to the maximum
21                     extent feasible, the altered portions of the facility are readily
22                     accessible to and usable by individuals with disabilities, including
23                     individuals who use wheelchairs or to ensure that, to the maximum
24                     extent feasible, the path of travel to the altered area and the
25                     bathrooms, telephones, and drinking fountains serving the altered
26                     area, are readily accessible to and usable by individuals with
27                     disabilities where such alterations to the path or travel or the
28                     bathrooms, telephones, and drinking fountains serving the altered



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 1                        area are not disproportionate to the overall alterations in terms of cost
 2                        and scope. 42 U.S.C. § 12183(a)(2).
 3          21.    Where parking spaces are provided, accessible parking spaces shall be
 4    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 5    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 6    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 7    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 8    be van parking space. 2010 ADA Standards § 208.2.4.
 9          22.    Under the 1991 Standards, parking spaces and access aisles must be level
10    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
11    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
12    shall be part of an accessible route to the building or facility entrance and shall comply
13    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
14    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
15    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
16    directions. 1991 Standards § 4.6.3.
17          23.    Here, the access aisles were not level with the parking surfaces. Under the
18    2010 Standards, access aisles shall be at the same level as the parking spaces they serve.
19    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
20    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
21    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
22          24.    Under the ADA, the method and color of marking are to be addressed by
23    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24    Building Code (“CBC”), the parking space identification signs shall include the
25    International Symbol of Accessibility. Parking identification signs shall be reflectorized
26    with a minimum area of 70 square inches. Additional language or an additional sign
27    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28    parking space identification sign shall be permanently posted immediately adjacent and



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 1    visible from each parking space, shall be located with its centerline a maximum of 12
 2    inches from the centerline of the parking space and may be posted on a wall at the
 3    interior end of the parking space. See CBC § 11B-502.6, et seq.
 4          25.      Moreover, an additional sign shall be posted either in a conspicuous place at
 5    each entrance to an off-street parking facility or immediately adjacent to on-site
 6    accessible parking and visible from each parking space. The additional sign shall not be
 7    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9    designated accessible spaces not displaying distinguishing placards or special license
10    plates issued for persons with disabilities will be towed always at the owner’s expense…”
11    See CBC § 11B-502.8, et seq.
12          26.      Here, Defendants failed to provide a sign stating “Minimum Fine $250.”
13          27.      A public accommodation shall maintain in operable working condition those
14    features of facilities and equipment that are required to be readily accessible to and usable
15    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
16          28.      By failing to maintain the facility to be readily accessible and usable by
17    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
18    regulations.
19          29.      The Business has denied and continues to deny full and equal access to
20    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
21    discriminated against due to the lack of accessible facilities, and therefore, seeks
22    injunctive relief to alter facilities to make such facilities readily accessible to and usable
23    by individuals with disabilities.
24                                  SECOND CAUSE OF ACTION
25                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
26          30.      Plaintiff incorporates by reference each of the allegations in all prior
27    paragraphs in this complaint.
28




                                              COMPLAINT - 7
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 1          31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3    national origin, disability, medical condition, genetic information, marital status, sexual
 4    orientation, citizenship, primary language, or immigration status are entitled to the full
 5    and equal accommodations, advantages, facilities, privileges, or services in all business
 6    establishments of every kind whatsoever.”
 7          32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9    for each and every offense for the actual damages, and any amount that may be
10    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12    attorney’s fees that may be determined by the court in addition thereto, suffered by any
13    person denied the rights provided in Section 51, 51.5, or 51.6.
14          33.    California Civil Code § 51(f) specifies, “a violation of the right of any
15    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16    shall also constitute a violation of this section.”
17          34.    The actions and omissions of Defendants alleged herein constitute a denial
18    of full and equal accommodation, advantages, facilities, privileges, or services by
19    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21    51 and 52.
22          35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24    damages as specified in California Civil Code §55.56(a)-(c).
25                                   THIRD CAUSE OF ACTION
26                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27          36.    Plaintiff incorporates by reference each of the allegations in all prior
28    paragraphs in this complaint.



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 1          37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2    entitled to full and equal access, as other members of the general public, to
 3    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8    places of public accommodations, amusement, or resort, and other places in which the
 9    general public is invited, subject only to the conditions and limitations established by
10    law, or state or federal regulation, and applicable alike to all persons.
11          38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12    corporation who denies or interferes with admittance to or enjoyment of public facilities
13    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15    the actual damages, and any amount as may be determined by a jury, or a court sitting
16    without a jury, up to a maximum of three times the amount of actual damages but in no
17    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18    determined by the court in addition thereto, suffered by any person denied the rights
19    provided in Section 54, 54.1, and 54.2.
20          39.    California Civil Code § 54(d) specifies, “a violation of the right of an
21    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22    constitute a violation of this section, and nothing in this section shall be construed to limit
23    the access of any person in violation of that act.
24          40.    The actions and omissions of Defendants alleged herein constitute a denial
25    of full and equal accommodation, advantages, and facilities by physically disabled
26    persons within the meaning of California Civil Code § 54. Defendants have
27    discriminated against Plaintiff in violation of California Civil Code § 54.
28




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 1         41.    The violations of the California Disabled Persons Act caused Plaintiff to
 2   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3   statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                FOURTH CAUSE OF ACTION
 5                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 6         42.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         43.    Plaintiff and other similar physically disabled persons who require the use of
 9   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
10   such facility is in compliance with the provisions of California Health & Safety Code §
11   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
12   provisions of California Health & Safety Code § 19955 et seq.
13         44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
14   that public accommodations or facilities constructed in this state with private funds
15   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
16   Title 1 of the Government Code. The code relating to such public accommodations also
17   require that “when sanitary facilities are made available for the public, clients, or
18   employees in these stations, centers, or buildings, they shall be made available for
19   persons with disabilities.
20         45.    Title II of the ADA holds as a “general rule” that no individual shall be
21   discriminated against on the basis of disability in the full and equal enjoyment of goods
22   (or use), services, facilities, privileges, and accommodations offered by any person who
23   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
24   Further, each and every violation of the ADA also constitutes a separate and distinct
25   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
26   award of damages and injunctive relief pursuant to California law, including but not
27   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
28   //



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 1                                   FIFTH CAUSE OF ACTION
 2                                         NEGLIGENCE
 3          46.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5          47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 6   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 7   to the Plaintiff.
 8          48.    Defendants breached their duty of care by violating the provisions of ADA,
 9   Unruh Civil Rights Act and California Disabled Persons Act.
10          49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
11   has suffered damages.
12                                     PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
14   Defendants as follows:
15          1.     For preliminary and permanent injunction directing Defendants to comply
16   with the Americans with Disability Act and the Unruh Civil Rights Act;
17          2.     Award of all appropriate damages, including but not limited to statutory
18   damages, general damages and treble damages in amounts, according to proof;
19          3.     Award of all reasonable restitution for Defendants’ unfair competition
20   practices;
21          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
22   action;
23          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
24          6.     Such other and further relief as the Court deems just and proper.
25   //
26   //
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28   //



                                            COMPLAINT - 11
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: April 26, 2022            SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                           By:   _/s/ Jason J. Kim____________
                                                   Jason J. Kim, Esq.
 9                                           Attorneys for Plaintiff
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